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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                      )
                                                )
          Plaintiff,                            )             Criminal No: 10-01-GFVT
                                                )
 V.                                             )
                                                )
 ROLAND KEITH RAMEY                             )                      ORDER
                                                )
          Defendant.                            )

                                      *** *** *** ***
           This matter is before the Court on the Report and Recommendation [R. 83] filed

 by United States Magistrate Judge Hanly A. Ingram. The Report and Recommendation

 addresses the reported violations of supervised release conditions by the Defendant

 Roland Keith Ramey. [Id.] Therein he recommends revocation; imprisonment for one

 day; re-imposition of supervised release to terminate on October 6, 2014; the

 incorporation of a special condition in his supervised release requiring that he serve two

 weekends of incarceration over the next 30 days; and that the Court grant his oral motion

 to dismiss the provisions of Violations 1 and 2 that allege improper use of

 benzodiazepines, and Violations 3 and 4 of the Supervised Release Violation Report. [Id.

 at 8.]

           His Report advises the parties that any objections must be filed within fourteen

 (14) days of service. [Id.] Ramey has indicated that he has no objection to Judge

 Ingram’s Report and Recommendation [R. 85], and has filed notice of his Waiver of

 Allocution, [R. 84].




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        Generally, this Court must make a de novo determination of those portions of the

 Report and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c).

 When no objections are made, this Court is not required to “review . . . a magistrate’s

 factual or legal conclusions, under a de novo or any other standard . . . .” See Thomas v.

 Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a magistrate’s report and

 recommendation are also barred from appealing a district court’s order adopting that

 report and recommendation. United States v.Walters, 638 F.2d 947 (6th Cir. 1981).

 Nevertheless, this Court has examined the record, and agrees with the Magistrate Judge’s

 Report and Recommendation.

        Accordingly, the Court being sufficiently and otherwise advised, it is hereby

 ORDERED as follows:

        (1)     The Magistrate Judge’s Report and Recommendation [R. 83] is

 ADOPTED as the opinion of this Court;

        (2)     Ramey’s period of supervised release is REVOKED and he is

 SENTENCED to a 1 day term of imprisonment;

        (3)     The terms of Ramey’s Supervised Release are re-imposed immediately

 following completion of his term of imprisonment and will terminate on October 6, 2014;

        (4)     A special condition is incorporated into his supervised release conditions

 requiring that he serve two weekends, May 18-19 and June 1-2, 2013, of incarceration

 over the next 30 days;

        (5)     If, however, judgment entry and/or designation by the BOP is delayed, the

 weekend of June 15-16 is also available for Ramey to serve his additional period of

 incarceration; and



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        (6)    The United States Oral Motion to Dismiss the provisions of Violations 1

 and 2 that allege improper use of benzodiazepines and Violations 3 and 4 of the Report is

 GRANTED.

        This 16th day of May, 2013.




                                             3
